         Case 2:16-cv-12883-AC-SDD ECF No. 63, PageID.1403 Filed 12/27/16 Page 1 of 4




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

        FCA US LLC, a Delaware Limited
        Liability Company,

                   Plaintiff,

        vs.                                      Case No. 16-cv-12883-AC-SDD

        CUMMINS INC. f/k/a CUMMINS               HON: AVERN COHN
        ENGINE COMPANY, INC., an Indiana
        Company,
                                                   AMENDED JOINT RULE 26(f)
                   Defendant.                       DISCOVERY PLAN AND
                                                     SCHEDULING ORDER
        AND

        CUMMINS INC., an Indiana Company,

                   Counter-Plaintiff,

        vs.

        FCA US LLC, a Delaware Limited
        Liability Company,

                   Counter-Defendant.

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4844-3669-3821.5
4844-3669-3821.7
         Case 2:16-cv-12883-AC-SDD ECF No. 63, PageID.1404 Filed 12/27/16 Page 2 of 4




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          AMENDED JOINT RULE 26(f) DISCOVERY PLAN AND SCHEDULING
                                    ORDER

                   Per the request of this Court, after the status conference on December 12,

        2016 at 10:00 am, the parties hereby submit this amended Joint Rule 26(f)

        Discovery Plan and Scheduling Order.


        Proposed Event                                    Proposed Date


        Initial Rule 26(a)(1) Disclosures:                December 22, 2016


        Stipulations:                                     December 22, 2016

        The parties shall make an effort to
        limit the issues that will be litigated
        and the subject of discovery in this
        action. To accomplish this, the parties
        shall exchange up to twenty proposed
        stipulations of fact by:


        Responses to Stipulations:                        January 12, 2017

        The parties shall exchange responses              If the party will not stipulate to a
                                                      2
4844-3669-3821.5
4844-3669-3821.7
         Case 2:16-cv-12883-AC-SDD ECF No. 63, PageID.1405 Filed 12/27/16 Page 3 of 4




        to the other party’s proposed                    proposed stipulation, it is required to
        stipulations of fact stating for each            provide the reasons why.
        proposed stipulation either:
                                                         A reason may be that the information is
        1) that the proposed language of the             not known because discovery is needed.
        stipulation is acceptable and the party          however, the parties must provide a
        will stipulate to it,                            substantive response no later than the
                                                         Fact Discovery Cut Off date.
        2) the party will stipulate to it if
        certain revisions are made to it with
        the revised language of the proposed
        stipulation provided in the response, or

        3) that the party will not stipulate to it
        and there is no revised form of the
        stipulation to which the party would
        stipulate:


        Lay Witness Lists:                               April 1, 2017


        Fact Discovery Cutoff:                           June 1, 2017


        Expert Disclosures:                              Plaintiff’s Disclosures: June 15, 2017

                                                         Defendant’s Disclosures: July 15, 2017

                                                         Rebuttal disclosures are not permitted
                                                         without Court approval.



        Expert Discovery Cutoff:                         August 31, 2017


        Dispositive Motion Filing Deadline:              October 31, 2017


                                                     3
4844-3669-3821.5
4844-3669-3821.7
         Case 2:16-cv-12883-AC-SDD ECF No. 63, PageID.1406 Filed 12/27/16 Page 4 of 4




        Final Pre-Trial Conference to be set by       December 1, 2017
        the Court in:



        Trial:                                        To be set by the Court.



        IT IS SO ORDERED.

        Dated: December 27, 2016              s/Avern Cohn
                                              U.S. District Judge




                                                  4
4844-3669-3821.5
4844-3669-3821.7
